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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
__________________________________________
                                           )
UNITED STATES OF AMERICA                   )
                                           )
v.                                         ) No. 23-cr-241 (GMH)
                                           )
CINDY YOUNG,                               )
                                           )
                  Defendant.               )
__________________________________________)

                          MEMORANDUM OPINION AND ORDER

       Defendant Cindy Young, who is charged with four misdemeanors in connection with the

events at the Capitol on January 6, 2021, has filed a motion for a bill of particulars as to three of

those crimes contending that she has insufficient information about the conduct with which she is

charged to prepare a defense. The motion is denied.

                                     I.     BACKGROUND

       Defendant was originally charged by criminal complaint on June 21, 2023, with violations

of 18 U.S.C. § 1752(a)(1) and (2) and 40 U.S.C. § 5104(e)(2)(D) and (G). See generally ECF

No. 1. As relevant here, Section 1752(a)(2) criminalizes “knowingly, and with intent to impede

or disrupt the orderly conduct of Government business or official functions, engag[ing] in

disorderly or disruptive conduct in, or within such proximity to, any restricted building or

grounds,” 18 U.S.C. § 1752(a)(2); Section 5104(e)(2)(D) prohibits willfully and knowingly

“utter[ing] loud, threatening, or abusive language, or engag[ing] in disorderly or disruptive

conduct, at any place in the Grounds or in any of the Capitol Buildings with the intent to impede,

disrupt, or disturb the orderly conduct of a session of Congress or either House of Congress,” 40

U.S.C. § 5104(e)(2)(D); and Section 5104(e)(2)(G) proscribes willfully and knowingly
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“parad[ing], demonstrat[ing], or picket[ing] in the Grounds or any of the Capitol Buildings,” id. §

5104(e)(2)(G).

       On July 24, 2023, Defendant was charged by Information with the same crimes. See ECF

No. 12. Judge Chutkan arraigned her on those charges on August 1, 2023. Minute Entry (Aug. 1,

2023). On October 19, 2023, upon the parties’ consent to the jurisdiction of a magistrate judge for

all purposes, the case was reassigned to the undersigned. See ECF Nos. 17–18. Thereafter,

Defendant’s former attorneys moved to withdraw, requests which the Court granted. See ECF

Nos. 19–20; Minute Order (Nov. 2, 2023). Defendant’s current counsel entered an appearance on

November 20, 2023. See ECF No. 21.

       Defendant filed her motion for a bill of particulars under Rule 7(f) of the Federal Rules of

Criminal Procedure on May 17, 2024. See ECF No. 32. In it, she asserts that the statement of

facts supporting the criminal complaint “makes [only] six (6) allegations regarding [her] ‘conduct’

on January 6”: (1) that she “scaled a staircase” on the Capitol grounds; (2) that she entered the

Capitol building; (3) that she “traveled through varying areas of the Capitol; (4) that “[a]t some

point” she “came into possession of a Trump 2020 and an American flag”; (5) that she “filmed

and/or photographed the Rotunda”; and (6) that she stood with a crowd “outside the Chamber

doors.” Id. at 1–2 (quoting ECF No. 1 at 3, 5, 7). She objects that “it is not apparent” from those

alleged facts which conduct, “if any, constitutes the ‘disorderly’ or ‘disruptive’ conduct that [is]

the basis for the charges” under Section 1752(a)(2) and Section 5104(e)(2)(D) and “which of [her]

actions constituted parading, demonstrating, and picketing” under Section 5104(e)(2)(G). ECF

No. 32 at 2.




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                                   II.     LEGAL STANDARD

        Rule 7(f) of the Federal Rules of Criminal Procedure provides in relevant part that “[t]he

defendant may move for a bill of particulars before or within 14 days after arraignment or at a later

time if the court permits.” Fed. R. Crim. P. 7(f). “A bill of particulars is ‘a formal written statement

by the government that provides details of the charges in the indictment’” and is used “to ensure

that the charges brought against a defendant are stated with enough precision to allow the

defendant to understand the charges, to prepare a defense, and perhaps also to be protected against

retrial on the same charges.” United States v. Brown, No. 22-cr-170, 2024 WL 50977, at *2

(D.D.C. Jan. 4, 2024) (first quoting United States v. Warnagiris, 2023 WL 6926491, at *13

(D.D.C. Oct. 19, 2023), and then quoting United States v. Mejia, 448 F.3d 436, 445 (D.C. Cir.

2006)). Requests for bill of particulars are “routinely denied,” 1 Andrew D. Leipold, Federal

Practice and Procedure Criminal § 130 (5th ed.) [hereinafter, Fed. Prac. & Procedure Crim. § 130],

and should be ordered only when a court, in the exercise of its discretion, “believes it is necessary

to allow the defendant[] to adequately prepare for and avoid surprise at trial,” Brown, 2024 WL

50977, at *2 (emphasis in original) (quoting United States v. Sutton, No. 21-cr-598, 2022 WL

1183797, at *2 (D.D.C. Apr. 1, 2022)); see also Fed. Prac. & Procedure Crim. § 130

(“Courts . . . will deny a motion if the requested information would simply be helpful to the

defense rather than strictly necessary to a fair trial.”). As such, it is not to be used “as a discovery

tool or a device to preview the government’s evidence or theory of the case.” Brown, 2024 WL

50977, at *2 (quoting Sutton, 2022 WL 1183797, at *2). More, “a bill of particulars is unnecessary

if the information the defendant seeks is readily available through alternate means such as

discovery.” United States v. Vaughn, 722 F.3d 918, 927–28 (7th Cir. 2013). Thus, in ruling on a

motion seeking a bill of particulars, a court should consider factors such as “the complexity of the



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crime charged, the clarity of the [charging document], and the degree of discovery and other

sources of information that are available to the defense.” Brown, 2024 WL 50977, at *2 (quoting

United States v. Connell, No. 21-cr-84, 2023 WL 4286191, at *2 (D.D.C. June 30, 2023)).

                                              III.     DISCUSSION

         Defendant’s motion will be denied for two independent reasons. First, it is untimely. The

rule allows a motion for a bill of particulars to be brought “before or within 14 days after

arraignment.” Fed. R. Crim. P. 7(f). Here, Defendant was arraigned on August 1, 2023, see Minute

Entry (Aug. 1, 2023); she filed her motion on May 17, 2024, see ECF No. 32, 290 days after her

arraignment. 1 The motion is therefore late by more than nine months. To be sure, the rule allows

such a motion to be filed at a later time “if the court permits.” Fed. R. Crim. P. 7(f). But here,

Defendant did not seek permission from the Court to file an untimely motion and failed to provide

any reason in her opening brief that would support such a request (and she did not file a reply to

the government’s opposition). See, e.g., United States v. Homaune, 898 F. Supp. 2d 153, 165

(D.D.C. 2012) (denying a motion for a bill of particulars where “the motion came fifty-two days

after arraignment—far beyond Rule 7(f)’s fourteen-day default—with no explanation for why his

request took so long to lodge”); see also United States v. Marquez, No. 21-cr-1510, 2024 WL

2302109, at *3 n.1 (D.N.M. May 21, 2024) (“Under Fed. R. Crim. P. 7(f), a defendant may move

for a bill of particulars at a later time if the court permits. Here, Defendant has not provided this

Court with good cause or sufficient grounds as to why a bill of particulars should be granted at this

juncture. Therefore, in its discretion, this Court declines to permit a bill of particulars.”); United

States v. Lorenzo, No. 19-cr-20215, 2019 WL 3202996, at *2 (S.D. Fla. July 16, 2019) (denying a

motion as untimely where it was “seven days late” and the defendant did “not provide any reason


1
 Although it is not strictly relevant, the Court notes that the motion was filed 179 days after her current counsel filed
his notice of appearance in this case on November 20, 2023. See ECF No. 21.

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for the delay, much less offer any ‘factual circumstances to indicate good cause for extending the

14-day limit of Rule 7(f)’” (some internal quotation marks omitted) (quoting United States v.

Hinton, No. 13-cr-32, 2014 WL 12690115, at *3 (M.D. Ga. Apr. 15, 2014))); United States v.

Perez-Trevino, No. 15-cr-2037, 2016 WL 1367187, at *1–2 (N.D. Iowa Apr. 5, 2016) (rejecting

the defendant’s explanation that his motion for a bill of particulars was untimely filed because

counsel “had waited until he had reviewed the ‘voluminous’ discovery file” found “little evidence

tying Defendant to the alleged conspiracy”); United States v. Hesson, No. 15-cr-152, 2015 WL

8273803, at *3 (E.D. La. Dec. 8, 2015) (reversing a magistrate judge’s decision granting a motion

for a bill of particulars in part because the motion was untimely).

       Second, the motion fails on the merits. These are not complex crimes. To be convicted

under 18 U.S.C. § 1752(a)(2), the government must show that

       (1) the defendant engaged in disorderly or disruptive conduct in, or in proximity to,
       any restricted building; (2) the defendant did so knowingly, and with the intent to
       impede or disrupt the orderly conduct of Government business or official functions;
       and (3) the defendant’s conduct occurred when, or so that, his conduct in fact
       impeded or disrupted the orderly conduct of Government business or official
       functions.

United States v. Rivera, 607 F. Supp. 3d 1, 8 (D.D.C. 2022).            Violation of 40 U.S.C. §

5104(e)(2)(D) requires that the defendant (1) “engaged in disorderly or disruptive conduct in any

of the United States Capitol Buildings”; (2) “did so with the intent to impede, disrupt, or disturb

the orderly conduct of a session of Congress or either House of Congress”; and (3) “acted willfully

and knowingly.” Id. at 10. And 40 U.S.C. § 5104(e)(2)(G) prohibits a defendant from (1)

“parad[ing], demonstrate[ing], or picket[ing] in any of the United States Capitol Buildings; and

(2) doing so “willfully and knowingly.” Id. “Even mere presence in an unlawful mob or riot” can

be “both (1) ‘disorderly’ in the sense that it furthers the mob’s ‘disturb[ing] the public peace’ and

(2) ‘disruptive’ insofar as it disturbs the normal and peaceful condition of the Capitol grounds and


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buildings, its official proceedings, and the safety of its lawful occupants.” Id. at 8 (alteration in

original) (first quoting “Disorderly,” Black's Law Dictionary (9th ed. 2009), and then quoting

“Disruptive,” Merriam-Webster.com Dictionary). A person can “parade” or “demonstrate” when

she “[takes] part in a ‘public manifestation’ in furtherance of ‘some political or other cause.’” Id.

at 11 (quoting “Demonstration,” Oxford English Dictionary (2nd ed. 1989)). The allegations in

the statement of facts accompanying the criminal complaint adequately advise Defendant of the

conduct that allegedly violated these statutes.

       Additionally, as the government notes, it has provided voluminous discovery—both “case

specific” and “global discovery of the riot as a whole”—to Defendant, including “surveillance

video, statements of similarly situated defendants, forensic searches of electronic devices and

social media accounts of similarly situated defendants, as well as citizen tips.” ECF No. 45 at 3 &

n.2; see, e.g., United States v. Ballenger, No. 21-cr-719, 2022 WL 14807767, at *2 (D.D.C. Oct.

26, 2022) (“If discovery would provide a defendant with sufficiently precise information, however,

then a bill of particulars is not warranted. In this case, no bill of particulars is necessary given the

voluminous discovery provided, including videos and still photographs. Defendants have

sufficient understanding of the charges against them and the bases therefor.” (internal citation

omitted)); see also United States v. Mosquera-Murillo, 153 F. Supp. 3d 130, 146–48 (D.D.C. 2015)

(rejecting an argument that a bill of particulars was necessary because of “the large volume of

material provided by the government apart from the [charging instrument]”), aff’d, 902 F.3d 285

(D.C. Cir. 2018). It has also provided a detailed account of Defendant’s conduct in a draft

statement of offense accompanying a proposed plea agreement (which Defendant has rejected).

See ECF No. 45 at 3. More, the government’s opposition to the motion under consideration

contains a summary of Defendant’s alleged conduct on January 6, 2021:



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       On January 6, 2021, the defendant was among the crowd who breached the
       restricted perimeter and entered the U.S. Capitol Building. After entering the
       restricted ground, Defendant Young immersed herself in the crowd gathering on
       the West grounds, where with the assistance of two rioters was pulled up, scaling
       the Northwest staircase which leads to the Upper West Terrace. At approximately
       2:22 p.m., she entered the U.S. Capitol Building through the Senate Wing doors.
       Young traveled from the first floor of the U.S. Capitol Building, to the second
       where she passed through the Rotunda and Statuary Hall before joining the growing
       crowd directly outside the House of Representative’s Chamber—all while carry a
       political flag. Inside the House, members and staff had to be evacuated due to the
       crowd’s presence. Outside the House floor, the crowd chanted “Stop the Steal” and
       “USA” before overrunning officers and pushing forward to the House Main Doors.
       Defendant Young was amongst the crowd as it surged forward towards the Main
       door. Here, the crowd chanted “break it down!” while referring to the final House
       Main Doors. Half of the crowd, including Young, eventually left the House Main
       Doors and made their way to the Speaker’s Lobby where members of the crowd
       attempted to access the floor by smashing through the lobby door windows. During
       subsequent interviews, the defendant admitted that she had entered the U.S. Capitol
       Building on January 6, 2021, with the intended goal to get to the hearing room to
       have her voice heard.

Id. at 2. That is more than sufficient to allow Defendant to “understand the charges” and “prepare

a defense.” Brown, 2024 WL 50977, at *2 (quoting Mejia, 448 F.3d at 445); see also Mosquera-

Murillo, 153 F. Supp. 3d at 147–48 (“[T]he indictment’s failure to detail the government’s case

against the defendants alone does not trigger a requirement for the government to produce a bill of

particulars so long as the information requested by the defendants has been made available in

another form, including in the government’s responses to this and other defense motions.”).

       Accordingly, Defendant’s motion for a bill of particulars is DENIED.



       SO ORDERED.
                                                               Digitally signed by G.
Date: June 10, 2024.                                           Michael Harvey
                                                               Date: 2024.06.10 11:22:54
                                             ___________________________________
                                                               -04'00'
                                             G. MICHAEL HARVEY
                                             UNITED STATES MAGISTRATE JUDGE




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